Case 1:07-cr-00225-DLI   Document 77   Filed 05/14/08   Page 1 of 6 PageID #: 492




                                                             S/DLI
Case 1:07-cr-00225-DLI   Document 77   Filed 05/14/08   Page 2 of 6 PageID #: 493
Case 1:07-cr-00225-DLI   Document 77   Filed 05/14/08   Page 3 of 6 PageID #: 494
Case 1:07-cr-00225-DLI   Document 77   Filed 05/14/08   Page 4 of 6 PageID #: 495
Case 1:07-cr-00225-DLI   Document 77   Filed 05/14/08   Page 5 of 6 PageID #: 496
Case 1:07-cr-00225-DLI   Document 77   Filed 05/14/08   Page 6 of 6 PageID #: 497
